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                                                                        Littler Mendelson, P.C.
                                                                        900 Third Avenue
                                                                        New York, NY 10022.3298




                                                                        William J. Anthony
                                                                        212.471.4404 direct
                                                                        212.583.9600 main
                                                                        wanthony@littler.com




August 30, 2024
                                       Plaintiff to file a motion and memorandum of law by no later than
                                       September 9, 2024, for permission to file its First Amended Complaint.
                                       Defendant shall respond no later than September 23, 2024. Plaintiff shall
Hon. Lewis J. Liman                    reply by September 30, 2024.
United States District Court
Southern District of New York
United States Courthouse               DATE: 8/30/24
500 Pearl St.
New York, NY 10007-1312

Re:       Lalli v. Warner Bros. Discovery, Inc.
          Case No. 1:24-cv-03178-LJL

Dear Judge Liman:

Defendant does not consent to Plaintiff’s First Amended Complaint. Plaintiff and her counsel did not
inform Defendant that the First Amended Complaint would be filed or seek our consent to the First
Amended Complaint. We would like to have an opportunity to respond to Plaintiff’s Motion to Amend
and to oppose the amendment under the standards of Rule 15(a)(2).

Thus, Defendant’s pending motion to dismiss and/or transfer the complaint should not be dismissed as
moot at this time.

Respectfully submitted,


/s/ William J. Anthony

William J. Anthony
Shareholder




 littler.com
